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                       UNITED STATES DISTRICT COUKT

                       MIDDLE DISTRICT OF LOUISIANA


JOSEPH SAVOY CIVIL ACTION

VERSUS

DOUGLAS STROUGHTER, ET AL. NO. 18-00463-BAJ-EWD


                               RULING AND ORDEE

      Before the Court is Plaintiffs Objections to Magistrate Decision (Doc.

112) denying his Motion to Compel (Doc. 35). Defendants oppose the Motion. (Doc.

113). For the reasons stated below, Plaintiffs Motion is DENIED.

 I. BACKGROUND

      On April 13, 2018, Joseph Savoy1, at the time an inmate confined to Dixon

Correctional Institute ("DCI"), filed this action against Defendants alleging that

Defendants used excessive force against him, in violation of his Eighth Amendment


right to be free from cruel and unusual punishment under the United States


Constitution. (See Doc. 1 at pp. 7—8). Savoy additionally alleged that the excessive


force used was in retaliation against him for filing an Administrative Remedies

Procedure ("ARP ) at a previous institution. See id. at p. 7. Savoy alleged, in the


alternative, negligence under Louisiana state law. See id. at pp. 8-9.


      The claims arose from an incident that occurred on July 31, 2017, in a hallway


of the Dixon Correctional Institution. See id. at p. 2. Following a verbal altercation




 Savoy has since passed away from unrelated causes. (See Doc. 34-1).
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between Plaintiff and Defendants, Defendants used force against Plaintiff to restrain

him. See id. at pp. 3-4. In his Complaint, Plaintiff claimed that Defendants attacked


him because he had previously filed grievances and a federal lawsuit against various


prison guards. See id. at p. 3. Defendants, however, deny having knowledge about the


prior grievances and lawsuit. (See Doc. 39-1 at p. 20). They claim that Plaintiff was


restrained because he physically and verbally threatened them and refused to


respond to their verbal commands. (See Doc. 39-1 at pp. 17—18).


       Video footage partially captured the incident. On April 10, 2019, Defendants

delivered the video of the July 2017 incident in nine clips. (See Doc. 35-1 at p. 2).

However, there were gaps in time between some of the clips. See id. According to


Plaintiff, the "video was immediately reviewed. See id. On February 11, 2020,


Plaintiff claims that he "began writing out the exact timeline of events on the video,"

and noticed there were minutes missing from the end of two of the video clips. See id.


On February 17, 2020, Plaintiff filed a Motion to Compel asserting that Defendants

intentionally withheld these sections of the video and sought to compel their delivery.

(Doc. 35). The Magistrate Judge denied Plaintiffs Motion to Compel as untimely.

(Doc. 68). Plaintiff thereafter filed a IVIotion for Review and Objections to Magistrate

Decision. (Doc. 70). The Court, without ruling on the Motion for Review, granted


Defendants' Motion for Summary Judgment. (Doc. 91). Plaintiff thereafter appealed.


(Doc. 94). The U.S. Court of Appeals for the Fifth Circuit vacated the Court's

summary judgment ruling pending resolution of Plaintiffs Motion for Review. {See

Doc. 101 at p. 4).
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 II. ANALYSIS

       Local Rule 26(d)(l) makes clear that: "Absent exceptional circumstances, no


motions [to compel] . . . shall be filed after the expiration of the discovery deadline,


unless they are filed within seven days after the discovery deadline and pertain to

conduct during the final seven days of discovery." Here, as the Magistrate Judge


correctly pointed out, the deadline for completing fact discovery expired on July 31,


2019. (Doc. 17). Plaintiff filed his Motion to Compel over six months after the close of

fact discovery on February 17, 2020. (Doc. 35). Moreover, Defendants delivered the


video to Plaintiff on April 10, 2019, more than 2 months before the discovery deadline.

{See Doc. 35-1 at p. 1). Plaintiff had ample opportunity to review the video clips and

file a motion to compel any missing video segments prior to the close of discovery.


       However, Local Rule 26 also allows for untimely motions to be filed when


"exceptional circumstances" are shown. Plaintiff avers in his re-urged objection that


the IVIagistrate Judge's "timeliness explanation is hypertechnical and exalts form


over substance." (See Doc. 112, at p. 3). Plaintiff further argues that "[t]he search for


the truth took a back seat to procedural deadlines, when there was ample time to


have the facts discovered as [to] what happened to the missing video." Id.


      This explanation does not rise to the level of "exceptional circumstances." See


Bryant v. State Farm Mut. Auto. Ins. Co., 2018 WL 3869981, at *1 (M.D. La. Aug. 14,


2018) (denying untimely filed motion to compel an independent medical examination

and holding: "Having found no exceptional circumstances to order an untimely Rule


35 examination based on the assertions in the instant motion, the Court will deny the
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instant motion as untimely."); see also Rollins v. St. Jude Med., Inc., 2010 WL


1751822, at *3 (W.D. La. Apr. 28, 2010) (motion to compel struck as untimely, in part,


because plaintiff did not "provide the court with an explanation for the delay in her

memorandum in support of her own motion to compel); Days Inn Worldwide, Inc. v.


Sonia Investments, 237 F.R.D. 395, 396-99 (N.D. Tex. 2006) (finding that the motion


to compel was untimely filed two weeks after the discovery deadline, and that the

motion should have been filed within discovery deadline); Wells v. Sears Roebuck and

Co., 203 F.R.D. 240, 241 (S.D. Miss. 2001) (<([I]f the conduct of a respondent to

discovery necessitates a motion to compel, the requester of the discovery must protect


himself by timely proceeding with the motion to compel. If he fails to do so, he acts at

his own peril.").


       The Magistrate Judge determined, and the Court agrees, that Plaintiffs

failure to sufficiently review the video for 10 months preclude any finding of

"exceptional circumstances" that might warrant consideration of his untimely


Motion. See Tim W. Koerner & Associates, Inc. v. Aspen Labs, Inc., 492 F. Supp. 294,


297-98 (S.D. Tex. 1980) (plaintiffs conduct was "inexcusably dilatory" where it

waited 9 months to file its motion to compel after receiving allegedly deficient

responses); see also Days Inn Worldwide, Inc., 237 F.R.D. at 399 (denying motion to


compel filed 2 weeks after discovery deadline and where documents at issue were


produced 9 months before the motion to compel). As noted, Plaintiff received the video

on April 10, 2019 and claims that the "video was immediately reviewed." (See Doc. 35


at p. 2). However, Plaintiff fails to explain why it took almost 10 months from the
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time the video was received for him to notice any gaps in the video.


III. CONCLUSION

      Accordingly,


      IT IS ORDERED that Plaintiffs Objections To Magistrate Decision (Doc.

112) is DENIED.

      A separate judgment shall issue.
                                                             L^L
                            Baton Rouge, Louisiana, this •^i~T day of January, 2023




                                                        ^:
                                       JUDGE BRIAN A. </AQKSON
                                       UNITED STATES ?TRICT COURT
                                       MIDDLE DISTRICT OF LOUISIANA
